UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MISSOURI
EASTERN DIVISION

UNITED STATES OF AMERICA,
Plaintiff,
NO. 4:20 CR 781 RWS

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v. )
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DARRELL GILKEY, )
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Defendant.

GUILTY-PLEA AGREEMENT
Come now the parties and hereby agree, as follows:
d. PARTIES:

The parties are the defendant Darrell Gilkey, represented by defense counsel Teneil
Kellerman, and the United States of America (hereinafter "United States" or "Government"),
represented by the Office of the United States Attomey for the Eastern District of Missouri. This
agreement does not, and is not intended to, bind any governmental office or agency other than the
United States Attorney for the Eastern District of Missouri. The Court is neither a party to nor
bound by this agreement.

2, GUILTY PLEA:

A. The Plea: Pursuant to Rule 11(c)(1)(A), of the Federal Rules of Criminal
Procedure, in exchange for the Defendant's voluntary plea of guilty to Counts One and Two of the
indictment, the United States agreés that no farther federal prosecution will be brought in this
District relative to Defendant's violations of federal law, known fo the United States at this time,
arising out of the events set forth in the indictment,

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B. The Sentence: The parties agree that the recommendations contained
herein fairly and accurately set forth some guidelines that may be applicable to this case. The
parties further agree to jointly recommend a total sentence of 100 months imprisonment, consisting
of 16 months on Count One and 84 months consecutive on Count Two. The parties understand
that the Court is neither a party to nor bound by the Guidelines recommendations agreed to in this
document.

3. ELEMENTS:

As to Counts One, the defendant admits to knowingly violating Title 18, United States
Code, Section 2119(1), the elements of the crime with which he is charged and which he admits
committing are:

(1) = The Defendant, acting with another, took a 2019 Dodge Charger,

VIN#2C3CDXI G5KH541070, from the presence of another;

(2) ~The Defendant, acting with another, did so by intimidation;

(3) The Dodge Charger had been transported in interstate commerce; and

(4) -. At or during the time the Defendant, acting with another, took the Dodge Charger,

he intended to cause death ot serious bodily injury.

As to Count Two, the Defendant admits to knowingly violating Title 18,. United States
Code, Section 92A(C)(1YAYGI), and admits there is a factual basis for the plea and further fully
understands that the elements of the crime are as follows:

(1) The Defendant, acting with another, committed the crime of Carjacking as set forth

in Count One of the Indictment; and .

(2) The Defendant, acting with another knowingly brandished a fireatm in furtherance

of that crime.
4, FACTS:

The parties agree that the facts in this case are as follows and that the United States would
prove these facts beyond a reasonable doubt if the case were to go to trial. These facts may be
considered as relevant conduct pursuant to Section 1B 1.3;

On September 19, 2020, a man and woman were unloading items from their Dodge Charger
on Washington Ave. in downtown St. Louis, within the Eastern District of Missouri, when two
occupants of a red Toyota approached, pointed a gun at them, and demanded the keys to the Dodge
Charger. The men also directed the victims to take off their shoes and lic on the ground. One of
the men got into the Charger and the other got back into the Toyota, and both drove away. The
carjacking was caught on video by a camera at a Washington Ave. nightclub. Police identified the
Toyota from nearby cameras and entered it as wanted. A detective recognized the Modus Operandi
from the carjacking — directing the victims to lie on the ground and take off their shoes -~ from
other robberies that had occurred in the downtown area and in which the Defendant, Darrell
Gilkey, was a suspect. Police showed a photo atray to the victims, and the owner of the Dodge
Charger positively identified the Defendant as one of the men who had carjacked him.

The Dodge Charger was not manufactured in the State of Missouri and would have
necessarily been transported in interstate commerce in order to have been located in Missouri on.
September 19, 2020.

5. STATUTORY PENALTIES:
As to Count One, the Defendant fully understands that the maximum possible penalty
provided by law for the crime to which the Defendant is pleading guilty is imprisonment of not
more than fifteen years, a fine of not more than $250,000, or both such imprisonment and fine.
The Court also may impose a period of supervised release of not more than three years.

As to Count Two, the Defendant fully understands that the maximum possible penalties
provided by law for the crime to which the Defendant is pleading guilty is imprisonment of not
less than seven (7) years, but not more than life, consecutive to any other sefitence imposed; a fine
of not more than $250,000; or both such imprisonment and fine. The Court shall impose a period
of supervised release of not more than five years. The Defendant fully understands that the
crime to which a ‘guilty plea is being entered requires a mandatory minimum term of
imprisonment of seven years consecutive to any other sentence imposed.

6. U.S. SENTENCING GUIDELINES: 2016 MANUAL
The Defendant understands that this offense is affected by the U.S. Sentencing Guidelines

and the actual sentencing range is determined by both the Total Offense Level and the Criminal

History Category, The parties agree that the following are the U.S. Sentencing Guidelines Total.

Offense Level provisions that apply.
COUNT ONE
CARJACKING
A ‘Chapter 2 Offense Conduct:
i. Base Offense Level: The parties acknowledge that the base offense level

for Count One is 20 as found in §2B3.1(a).

 
Hi Specific Offense Characteristics: The parties agree that the following
Specific Offense Characteristics apply: Two levels should be added pursuant to §2B3.1(b)(5)
because the offense involved carjacking.

B. Chapter 3 Adjustments:

i, Acceptance of Responsibility: The parties recommend that two levels
should be deducted pursuant to Sentencing Guidelines Section 3E1.1(a) because Defendant has
clearly demonstrated acceptance of responsibility. If the deduction pursuant to Sentencing
Guidelines Section 3E1.1(a) is applied, then the United States moves to deduct one additional level
pursuant to Sentencing Guidelines Section 3B1,1(b)(2), because Defendant timely notified
authorities of the intention to enter a plea of guilty, thereby permitting the United States to avoid
preparing for trial and permitting the Court to allocate its resources efficiently. -

The parties agree that if Defendant does not abide by ali of the agreements made within
this document, Defendant's failure to comply is grounds for the loss of acceptance of responsibility
pursuant to Sentencing Guidelines Section 3E1.1. The parties further agree that Defendant's.
eligibility for a reduction pursuant ‘to Sentencing Guidelines Section 3E1.1 is based upon the
information known at the present time and that any actions of Defendant which occur or which
become known to. the United States subsequent to this agreement and are inconsistent with
Defendant's acceptance of responsibility including, but not limited to criminal conduct, are
grounds for the loss of acceptance of responsibility pursuant to Sentencing Guidelines Section
3E1.1. In any event, the parties agree that all of the remaining provisions of this agreement remain
valid and in full force and effect.

COUNT TWO

BRANDISHING A FIREARM DURING A CRIME OF VIOLENCE
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A, Chapter 2 Offense Conduct: |
(i) Chapter 2 Offense Conduct:
(a) Base Offense Level: The parties agree that the Base Offense
Level is found in Section 2K2.4(b).
(b) Specific Offense Characteristics: The partics agree that the
following Specific Offense Characteristics apply: none known at this time.
(ii) | Chapter 3 and 4 “Adjustments: _ Pursuant to Section 2K2.4(b) and
Application Note 5, Chapters Three and Four do not apply. Therefore, as to Count Two, Defendant
is not entitled to an acceptance of responsibility reduction under Section 3E1.1.
_ 2B. Kstimated Total Offense Level: Based on these recommendations, the parties
estimate that the Total Offense Levels are as follows:

@ Count One: ‘The parties agree that the Total Offense Level will be 19.

Gi) _ Coimt Two: Based on these recommendations, the parties agree that with respect
to Count Two, the Defendant will receive a mandatory minimum sentence of no less than 7 years,
which will run consecutively to any other sentence Defendant may receive.

D. Criminal History: The determination of the Defendant's Criminal History
Category shall be loft to the Court. Either party may challenge, before and at sentencing, the
’ finding of the Presentence Report as to the Defendant's criminal history and the applicable
category. The Defendant's criminal history is known to the Defendant and is substantially

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availabie in the Pretrial Services Report.
kK. Effect of Parties' U.S. Sentencing Guidelines Analysis: The parties agree that the
Court is not bound by the Guidelines analysis agreed to herein. The parties may not have foreseen

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all applicable Guidelines. The Court may, in its discretion, apply or not apply any Guideline
despite the agreement herein and the parties shall not be permitted to withdraw from the plea

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agreement.
7. WAIVER OF APPEAL AND POST-CONVICTION RIGHTS:

A. Appeal: The Defendant has been fully apprised by defense counsel of the
Defendant's rights concerning appeal and fully understands the right to appeal the sentence under
Title 18, United States Code, Section 3742.

i, Non-Sentencing Issues: The parties waive all rights to appeal all non-
jurisdictional, non-sentencing issues, including, but not limited to, any issues relating to pretrial
motions, discovery and the guilty plea.

ii. Sentencing Issues: In the event the Court accepts the plea and, after
determining a Sentencing Guidelines range, sentences the Defendant within or below that range,
then, as part of this agreement, the Defendant hereby waives all rights to appeal all sentencing
issues other than Criminal History. Similarly, the United States hereby waives all rights to appeal
all sentencing issues other than Criminal History, provided the Court accepts the plea and -
sentences the Defendant within or above the determined Sentencing Guidelines range. :

B. Habeas Corpus: The Defendant agrees to waive all rights to contest the conviction
or sentence in any post-conviction proceeding, including one pursuant to Title 28, United States
Code, Section 2255, except for claims of prosecutorial misconduct or ineffective assistance of
counsel,

Cc. Right to Records: The Defendant waives all rights, whether asserted directly or
by a representative, to request from any department or agency of the United States any records

pertaining to the investigation or prosecution of this case, including any records that may be sought
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under the Freedom of Information Act, Title 5, United States Code, Section 522, or the Privacy
Act, Title 5, United States Code, Section 552(a).
8. OTHER:

A. Disclosures Required by the United States Probation Office: The Defendant
agrees to trathfally complete and sign forms as required by the United States Probation Office
prior to sentencing and consents to the release of these forms and any supporting documentation
by the United States Probation Office to the United States.

B. Civil or Administrative Actions not Barred; Effect on Other Governmental
Agencies: Nothing contained herein limits the rights and authority of the United States to take
any civil, tax, immigration/deportation or administrative action against the Defendant.

Cc. Supervised Release: Pursuant to any supervised release term, the Court will
impose standard conditions upon the Defendant and may impose special conditions related to the
ctime Defendant committed, These conditions will be restrictions on the Defendant to which the
Defendant will be required to adhere. Violation of the conditions of supervised release resulting
in revocation may require the Defendant to serve a term of imprisonment equal to the length of the
term of supervised release, but not greater than the term set forth in Title 18, United States Code,
Section 3583(e)(3), without credit for the time served after release.. The Defendant understands
that parole has been abolished.

D. Mandatory Special Assessment: This offense is subject to the provisions of the
Criminal Fines Improvement Act of 1987 and the Court is required to impose a mandatory special
assessment of $100 per count for a total of $200, which the Defendant agrees to pay at the time of
sentencing. Money paid by the Defendant toward any restitution or fine imposed by the Court

shall be first used to pay any unpaid mandatory special assessment. ,
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E. Possibility of Detention: The Defendant may be subject to immediate detention
pursuant to the provisions of ‘Title 18, United States Code, Section 3143.

EF. Fines and Costs of Incarceration and Supervision: The Court may impose a
fine, costs of incarceration, and costs of supervision. The Defendant agrees that any fine imposed
by the Court will be due and payable immediately.

G. Forfeiture: The Defendant agrees to forfeit ‘all of the Defendant's interest in all
~ items seized by law-enforcement officials during the course of their investigation. The Defendant
adinits that all United States currency, weapons, property, and assets seized by law enforcement
officials during their investigation constitute the proceeds of the defendant's illegal activity, were
commingled with illegal proceeds, or were used to facilitate the illegal activity. The Defendant
agrees to execute any documents and take all steps needed to transfer title or ownership of said
items to the United States and to rebut the claims of nominees and/or alleged third party owners.
The Defendant further agrees that said items may be disposed of by law enforcement officials in
any manner.

9, ACKNOWLEDGMENT AND WAIVER OF THE DEFENDANT'S RIGHTS:

In pleading guilty, the Defendant acknowledges, fully understands and hereby waives his
rights, including-but not limited to: the right to plead not guilty to the charges; the right to be tried
by a jury in a public and speedy trial; the right to file pretrial motions, including motions to
suppress or exclude evidence; the right at such trial to a presumption of innocence; the right to
require the United States to prove the elements of the offenses charged against the Defendant
beyond a reasonable doubt; the right not to testify; the right not to present any eviderice; the right
to be protected from compelled self-incrimination; the right at trial to confront and cross-examine

adverse witnesses; the right to testify and present evidence and the right to compel the attendance
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of witnesses, The Defendant further understands that by this guilty plea, the Defendant expressly
waives all the rights set forth in this paragraph. é

The Defendant fully understands that the Defendant has the right to be represented by
counsel, and if necessary, to have the Court appoint counsel at trial and at every other stage of the
proceeding, The Defendant's counsel has explained these rights and the consequences of the
waiver of these rights. The Defendant fully understands that, as a result of the guilty plea, no trial
will, in fact, occur and that the only action remaining to be taken in this case is the imposition of
the sentence.

The Defendant is ‘fully satisfied with the representation received from defense counsel.
The Defendant has reviewed the United States’ evidence and discussed the United States’ case and
all possible defenses and defense witnesses with defense counsel. Defense counsel has completely
and satisfactorily explored all areas which the Defendant has requested relative to the United
States’ case and any defenses.
10. VOLUNTARY NATURE OF THE GUILTY PLEA AND PLEA AGREEMENT:

This document constitutes the entire agreement between the Defendant and the United «

States, and no other promises or inducements have been made, directly or indirectly, by any agent
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. Of the United States, including any Department of Justice attorney, concerning any pica to be

entered in this case. In addition, the Defendant states that no person has, directly or indirectly,
threatened or coerced the Defendant to do or refrain from doing anything in connection with any
aspect of this case, including entering a plea of guilty.

The Defendant acknowledges having voluntarily entered into both the plea agreement and
the guilty plea. The Defendant further acknowledges that this guilty plea is made of the

Defendant's own free will and that the Defendant is, in fact, guilty.
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11. CONSEQUENCES OF POST-PLEA MISCONDUCT:

After pleading guilty and before sentencing, if Defendant commits any crime, other than
minor traffic offenses, violates any conditions of release that results in revocation, violates any
term of this guilty-plea agreement, intentionally provides misleading, incomplete or untruthful
information to the U.S, Probation Office or fails to appear for sentencing, the United States, at its
option, may be released from its obligations under this agreement. The United States may also, in
its discretion, proceed with this agreement and may advocate for any sentencing position supported
by the facts, including but not limited to obstruction of justice and denial of acceptance of
responsibility,

12. NO RIGHT TO WITHDRAW GUILTY PLEA:

Pursuant to Rule 11(¢) and (d), Federal Rules of Criminal Procedure, the Defendant

understands that there will be no right to withdraw the plea entered under this agreement, except

where the Court rejects those portions of the plea agreement which deal with charges the United

States agrees to dismiss or not to bring.

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[512 2 MBE fCEL,
. Date oo DONALD S. BOYCE, #62825621L
. Assistant United States Attorney

“PRA \

 

 

DARRELL GILKEY
Defendant - \
S/AB —
Date CRENEIL KELLERMAN = 33-77/

. Attorney for Defendant

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